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7
                                UNITED STATES DISTRICT COURT
8
                               NORTHERN DISTRICT OF CALIFORNIA
9
                                        SAN JOSE DIVISION
10

11                                              )   Case No. 20-mc-80156
      IN RE APPLICATION OF TATIANA              )
12    AKHMEDOVA,                                )   JOINT REPORT ON STATUS OF CIVIL
                                                )   PROCEEDINGS IN THE UNITED
13                                 Applicant,   )   KINGDOM
                                                )
14    REQUEST FOR DISCOVERY                     )
      PURSUANT TO 28 U.S.C. § 1782.             )
15                                              )
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      JOINT REPORT ON STATUS OF LONDON PROCEEDING                          Case No. 20-mc-80156
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1            Applicant Tatiana Akhmedova (“Ms. Akhmedova” or “Applicant”) and Respondent Google

2    LLC (“Google”) submit this Joint Report on the Status of the Civil Proceeding in the United

3    Kingdom1 pursuant to this Court’s December 2, 2020, Order (Dkt. 36). This Joint Report is based on

4    information from Applicant only, as Google has no independent knowledge of the proceedings.

5         CURRENT STATUS OF THE CIVIL PROCEEDINGS IN THE UNITED KINGDOM

6         1. The London trial began, as scheduled, on November 30, 2020. The first two days were

7    allocated for the Judge’s pre-reading.

8         2. Proceedings began on December 2, 2020, via videoconference. On that same date, Temur

9    Akhmedov (“Temur”) appeared without legal representatives. Temur represented that his lawyers

10   had ceased to act due to non-payment of fees. Temur appeared from Moscow, where he had recently

11   travelled, despite Court Order that he attend the United Kingdom proceedings in person, for the

12   purposes of providing oral evidence.

13        3. Temur applied orally for certain relief intended to enable him to raise a loan to pay his (former)

14   lawyers. By the Order of Mrs. Justice Knowles dated December 2, 2020, the Court granted relief

15   permitting Temur to raise a loan provided he returned to England for the trial. The trial was adjourned

16   until Monday, December 7, 2020, at 10 a.m., so as to enable Temur to travel to London and for his

17   lawyers to be re-instructed.

18        4. On or about December 7, 2020, it is anticipated that party witnesses will begin providing oral

19   evidence. It is anticipated witnesses will testify for approximately 4 or 5 days.

20        5. The Court has directed that closing argument will be heard over 3 or 4 days, commencing on

21   or about Tuesday, December 15, 2020.

22        6. Counsel for Ms. Akhmedova is unaware when the Court will issue a judgment upon

23   conclusion of the trial. Justice Knowles has stated that she intends to reserve judgment and will not

24   give her decision at the end of the hearing. Ms. Akhmedova’s legal team anticipates that judgment

25   is likely to be handed down in February or March 2021, although this will depend on the Judge’s

26   other commitments (and could be earlier or later).

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           Pending litigation in the United Kingdom (High Court of Justice, Family Division, Case No.
28         FD13D05340) (the “English Proceeding”).

         JOINT REPORT ON STATUS OF LONDON PROCEEDING                                 Case No. 20-mc-80156
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1    DATED: December 3, 2020           HOLLAND & KNIGHT LLP

2
                                                  s/ James Power
3                                      Attorneys for Applicant
                                       Tatiana Akhmedova
4

5    DATED: December 3, 2020           PERKINS COIE LLP
6
                                                  s/ Julie Schwartz
7                                      Julie E. Schwartz
                                       Attorneys for Respondent and Non-Party
8                                      Google LLC
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      JOINT REPORT ON STATUS OF LONDON PROCEEDING                  Case No. 20-mc-80156
        Case 5:20-mc-80156-JD Document 37 Filed 12/03/20 Page 4 of 4



1                                              ATTESTATION

2            Pursuant to Civil Local Rule 5-1(i)(3), I hereby attest that all signatories to this document

3    concur in its filing.

4
     DATED: December 3, 2020                       HOLLAND & KNIGHT LLP
5

6                                                             s/ James Power
                                                   Attorneys for Applicant
7                                                  Tatiana Akhmedova
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      JOINT REPORT ON STATUS OF LONDON PROCEEDING                                  Case No. 20-mc-80156
